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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

 In re:                                                §
                                                       §         Case No. 20-20272
           IRON HORSE TOOLS, LLC                       §
                                                       §             Chapter 11
                                                       §
 Debtor.                                               §

      DEBTOR’S APPLICATION FOR APPROVAL OF RETENTION OF ARG
      PARTNERS LLC PURSUANT TO 11 U.S.C. §§ 105(a) AND 363(b) TO (I)
      PROVIDE THE DEBTOR A CHIEF RESTRUCTURING OFFICER AND
    CERTAIN ADDITIONAL PERSONNEL AND (II) DESIGNATE CHRIS WELSH
          AS CHIEF RESTRUCTURING OFFICER FOR THE DEBTOR

          This motion seeks an order that may adversely affect you. If you oppose the
          motion, you should immediately contact the moving party to resolve the
          dispute. If you and the moving party cannot agree, you must file a response
          and send a copy to the moving party. You must file and serve your response
          within 21 days of the date this was served on you. Your response must state
          why the motion should not be granted. If you do not file a timely response, the
          relief may be granted without further notice to you. If you oppose the motion
          and have not reached an agreement, you must attend the hearing. Unless the
          parties agree otherwise, the court may consider evidence at the hearing and
          may decide the motion at the hearing.

          Represented parties should act through their attorney.


 TO THE HONORABLE DAVID R. JONES,
 UNITED STATES BANKRUPTCY JUDGE

          COMES NOW, Iron Horse Tools, LLC (“Iron Horse” or “Debtor”), as debtor and debtor-

Debtor’s Application to Employ ARG Partners and Chris Welsh                                 Page 1
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in- possession in the above captioned case (collectively, the “Debtor”), files this application to

employ ARG Partners, LLC (“ARG”), and to designate Chris Welsh (“Welsh”) as the Chief

Restructuring Officer (“CRO”) of the Debtor pursuant to 11 U.S.C. §§ 105 and 363, together

with the Declaration of Chris Welsh (the “Welsh Declaration” and, collectively, the “Application”)

and in support thereof, respectfully states as follows:

                                      I.         JURISDICTION AND VENUE

        1.        This Court has jurisdiction pursuant to 28 U.S.C. § 1334. This is a core proceeding

under 28 U.S.C. §§ 157(b)(2)(A) and (O). The relief requested in the Application is authorized

under §§ 105 and 363 of the Bankruptcy Code.

        2.        Venue of the Debtor’s Chapter 11 case is proper in this district pursuant to 28

U.S.C. § 1408.


                                           II.    BACKGROUND

        3.       On the date hereof (the “Petition Date”), the Debtor filed its voluntary petition for

relief under chapter 11 of the Bankruptcy Code.

        4.       The Debtor continues to operate its business and manage its property as Debtor and

Debtor in possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No official

committee has been appointed, and no request has been made for the appointment of a trustee or

examiner.

        5.       The Debtor is national provider of pressure control-related equipment and services

with seven locations supporting oil and gas operations throughout the country. Among other

services, the Debtor provides chokes and related pressure control equipment and software, mud-

gas devices, rotating control devices and testing services throughout the United States.



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                                    III.     RELIEF REQUESTED

        6.        By this Application, pursuant to sections 105(a) and 363 of the Bankruptcy Code,

the Debtor respectfully requests entry of an order (a) authorizing the Debtor to employ and

retain ARG as restructuring advisors and (b) designate Chris Welsh as Chief Restructuring Officer

(“CRO”) , in accordance with the terms and conditions set forth in that certain engagement letter

(the “Engagement Letter”), dated as of August 12, 2020, a copy of which is attached hereto as

Exhibit “A”.


             IV.      BASIS TO RETAIN ARG PARTNERS AND CHRIS WELSH

             A.      ARG PARTNERS’ AND CHRIS WELSH’S QUALIFICATIONS

        7.         ARG is a restructuring, liquidation, and asset recovery firm. Specifically, ARG’s

services include operational and turnaround advisory services, restructuring advisory services,

interim management services, including Chief Restructuring Officer services. ARG’s

professionals have provided financial advisory services to many debtors, creditors and other

constituents in restructuring matters throughout the country.

        8.         Mr. Welsh is the Managing Partner of ARG Partners with 31 years of experience

in commercial lending, distressed transactions, including restructuring, turnaround, workouts,

going concern assets sales. Accordingly, Mr. Welsh has significant relevant experience and

expertise that will assist him in providing effective and efficient services to the Debtor throughout

this chapter 11 case. His recent CRO experience in bankruptcy/restructuring cases includes

Carolina Pad and Paper LLC., Cobalt-Vector Aerospace, LLC. and Sunset Logistic.

                                    B.       THE ENGAGEMENT

        9.         The Debtor has engaged ARG on the terms and conditions set forth in the

Engagement Letter. The Debtor and ARG have agreed that Chris Welsh will serve as the Debtor’s

Debtor’s Application to Employ ARG Partners and Chris Welsh                                  Page 3
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CRO.

        10.        Through the CRO, ARG will perform a range of restructuring services on the

Debtor’s behalf, including but not limited to:

                   (a)    analyzing the business, operations and financial condition of the Debtor;
                   (b)    assisting the Debtor with managing short term liquidity, including the
                          preparation of, inter alia, 13-week cash flow forecasts and monitoring
                          short term liquidity;
                   (c)    assisting the Debtor with preparing financial analyses;
                   (d)    evaluating strategic alternatives;
                   (e)    assisting the Debtor with the preparation of data in order to prepare
                          pleadings and fiduciary filings required in the Debtor’s bankruptcy
                          proceeding;
                   (f)    providing testimony on such matters that are within ARG’s expertise;
                   (g)    executing restructuring initiatives, including structuring plans of
                          reorganization, assisting in the sale of all or parts of the Debtor, including
                          any marketing thereof and liquidating assets;
                   (h)    assisting the Debtor and its counsel in negotiations with various parties-
                          in-interest; and
                   (i)    supporting the Debtor in such matters as the board of directors of the
                          Debtor shall request or require from time to time.
Such services may, in certain circumstances, be delegated to other ARG personnel who will be

billed on an hourly basis in addition to the fees charged for Mr. Welsh’s services.

              C.         DISCLOSURES CONCERNING CONFLICTS OF INTEREST

        11.        To check and clear potential conflicts of interest in this case, ARG has researched

its client database to determine whether ARG has or had any connection with, among others, the

following entities:

                   (a)    the Debtor and affiliated entities;

                   (b)    the Debtor’s secured lender;

                   (c)    the Debtor’s 20 largest unsecured creditors

                   (d)    the Debtor’s equity security holders; and

Debtor’s Application to Employ ARG Partners and Chris Welsh                                       Page 4
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                 (e)    counterparties to major contracts;

        12.      In order to enable ARG, through the CRO, to perform its duties, the CRO will

have (i) access to any and all information that the CRO deems necessary and all employees of the

Debtor will be directed to provide that information; (ii) have approval authority for all expenditures

over $10,000 and without such approval, no expenditure over the aforementioned amount may be

made; and (iii) the authority to direct or restrict funding of any financial or administrative functions

in the exercise of his business judgment, after consulting with the Debtor’s President and Manager.

        13.      To the best of the Debtor’s knowledge, and based upon the Welsh Declaration,

ARG is a “disinterested person” within the meaning of Section 101(14) of the Bankruptcy Code.

To the best of the Debtor’s knowledge, ARG does not hold any interest adverse to the Debtor or

its estate. Furthermore, to the best of the Debtor’s knowledge, ARG does not have any connection

with the Debtor, its creditors, or any other party in interest herein, or their respective attorneys or

accountants, the United States Trustee or any person employed in the office of the United States

Trustee, except as set forth in the Welsh Declaration.

        14.      From time to time, ARG may have provided financial consulting and/or consulting

services to certain creditors and other parties in interest in matters unrelated to this case. ARG has

informed the Debtor that during ARG’s retention by the Debtor in this case, it will not provide

services to creditors of the Debtor, including, without limitation, any listed in the Welsh

Declaration, in connection with any matters relating to the Debtor. However, given its diverse

practice and client base, ARG may provide services to clients in matters unrelated to this chapter

11 case that are or become creditors of the Debtor or who may have interests adverse to the debtors

in unrelated matters.



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                                      D.       COMPENSATION

        15.      The Debtor and ARG w i s h t o enter into the Engagement Letter effective

August 12, 2020. Under the Engagement Letter, the Debtor paid ARG a $36,000.00 retainer (the

“Retainer”) and agreed to pay ARG on an hourly basis upon presentation of weekly invoices,

maintaining the balance of the Retainer at $36,000.00.

        16.      Prior to the Petition Date, the Debtor paid ARG additional amounts in the

aggregate amount of $89,950.17.

        17.      In addition, ARG will be reimbursed for its reasonable out-of-pocket expenses

incurred in connection with this assignment, such as travel, lodging, duplicating, messenger,

computer research and telephone charges.

        18.      ARG intends to maintain detailed, contemporaneous time records in tenth of an

hour increments. If approved by the Court, ARG will be employed as a professional under section

327 of the Bankruptcy Code. ARG will submit fee applications under sections 330 and 331 of

the Bankruptcy Code.

        19.      ARG’s fee structure with the Debtor is consistent with—and typical of—

compensation arrangements entered into by ARG and other comparable firms in connection with

rendering similar services under similar circumstances. Given the numerous issues ARG may be

required to address in performing these services, ARG’s commitment to the variable level of time

and effort necessary to address all such issues as they arise, and the market prices for such

services for engagements of this nature in an out-of-court context, as well as in chapter 11, the

Debtor submits that the fee arrangements in the Engagement Letter are reasonable under these

circumstances. The proposed compensation is comparable to that generally charged by financial

consulting firms of similar stature to ARG and for comparable engagements, both in and out of


Debtor’s Application to Employ ARG Partners and Chris Welsh                              Page 6
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court.

         20.     In light of the foregoing, and given the numerous issues which ARG may be

required to address in the performance of its services hereunder, the Debtor believe that the

proposed compensation is both fair and reasonable.

         21.     As set forth above, ARG rendered prepetition CRO services to the Debtor and

received compensation in connection with these services. Some invoices submitted to the Debtor

were paid within the 90 day period prior to the Petition Date. These payments are set forth in the

Welsh Declaration. ARG believes these payments were made in the ordinary course of business

or financial affairs of the Debtor and ARG and according to ordinary business extends net 7 day

payment terms and caps weekly billings. In addition, ARG continued to perform services for the

Debtor which would constitute new value under section 547 of the Bankruptcy Code.

                                      E.       THE INDEMNITY

         22.    As set forth in the Engagement Letter, the Debtor agrees to indemnify Mr. Welsh

to the same extent as the most favorable indemnification it extends to its officers or directors,

whether under the Debtor’s bylaws, its certificate of incorporation, by contract or otherwise, and

no reduction or termination in any of the benefits provided under any such indemnities shall affect

the benefits provided to Mr. Welsh. Mr. Welsh is and shall be covered as an officer under the

Debtor’s existing director and officer liability insurance policy.

         23.     The indemnity is a reasonable term and condition of the Engagement and a similar

form has been approved by several other Courts in this and other Districts. Unlike the market for

other professionals that a debtor may retain, indemnification is a standard term of the market for

firms that provide restructuring, turnaround and crisis management services. In fact, the indemnity

is comparable to those generally obtained by firms of similar stature to ARG and for comparable


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engagements, both in and out of court.

        24.      The indemnification of interim management, financial consultants and investment

bankers is reasonable and, indeed, commonly approved in connection with the retention of such

professionals. See, e.g., In re United Artists Theatre Company, 315 F.3d 217, 230 (3d Cir. 2003)

(“[W]e believe Houlihan Lokey’s indemnification to be reasonable and therefore permissible

under § 328.”); In re Joan and David Halpern, Inc., 248 B.R. 43 (Bankr. S.D.N.Y. 2000), aff’d,

2000 WL 1800690 (S.D.N.Y. Dec. 6, 2000); see also In re DEC International, Inc., 282 B.R. 423,

429 (W.D. Wis. 2002) (affirming bankruptcy court’s finding that indemnity of financial advisor

was reasonable); In re Comdisco, Inc., 2002 WL 31109431 at *6 (N.D. Ill. Sept. 23, 2002).

                                        V.      CONCLUSION

        25.      The retention of ARG and its professionals is a sound exercise of the Debtor’s

business judgment. Mr. Welsh has extensive experience with providing restructuring and related

advisory services to many troubled companies, and is a seasoned turnaround and restructuring

expert. Moreover, the terms of the Engagement Letter were the product of arms-length

negotiations and are economically fair, reasonable and beneficial to the estate. The compensation

agreement provided for in the Engagement Letter is consistent with and typical of arrangements

entered into by other restructuring consulting firms with respect to rendering similar services for

clients such as the Debtor. In light of the foregoing, the Debtor believes that the retention of ARG

and Mr. Welsh as the CRO, in conjunction with the other Professional Staff provided by ARG,

will provide services that benefit the Debtor’s estates and creditors.

        The Debtor respectfully requests that the Court enter an order (i) approving the retention

of ARG and the appointment of Chris Welsh as CRO pursuant to Sections 105 and 363 of the

Bankruptcy Code; (ii) approving the compensation terms set out above; and (iii) granting such


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other and further relief as may be just and proper.

        Dated: September 8, 2020.

                                                         Respectfully submitted,


                                                         By:     /s/ Howard Marc Spector
                                                                Howard Marc Spector
                                                                TBA #00785023

                                                         SPECTOR & COX, PLLC
                                                         Banner Place, Suite 1100
                                                         12770 Coit Road
                                                         Dallas, Texas 75251
                                                         (214) 365-5377
                                                         FAX: (214) 237-3380
                                                         EMAIL: hspector@spectorcox.com

                                                         PROPOSED COUNSEL FOR DEBTOR




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                                     ARGPartners
August 12, 2020


Joey Phillips, President and Its Board of Directors
Iron Horse Tools, LLC.
4502 S. Staples St.
Corpus Christi, TX 78411

In re: Chief Restructuring Officer and Financial Advisory Services

Mr. Phillips,

This agreement (the “Agreement”) is made and entered into this 12th day of August 2020, by and
between ARG Partners LLC (herein referred to as "ARG") and Iron Horse Tools, Inc. (herein referred to
as “IHT”). ARG is being engaged by IHT as the Chief Restructuring Officer (CRO) providing financial
advisory and bankruptcy services. This is a new agreement between the parties that supersedes the prior
agreement that is dated May 5, 2020.

IHT recognizes that the current balance it owes to ARG as of 8-12-20 (anticipated bankruptcy filing date)
is $23,810.05 as evidenced by the attached account statement. The balance owed is subject to change
based on the actual bankruptcy filing date. Current balance provided is good through 8-15-20 and
assumes no further travel expenses prior to bankruptcy filing. ARG anticipates that advances by the
senior lender will be made to cover ARG’s outstanding balances prior to the filing date plus required
deposit amount of $36,000 (see below for more details) for the contemplated bankruptcy filing.

          WHEREAS, ARG is a professional consulting company located in Frisco (Dallas area), Texas;
and

        WHEREAS, the principals at ARG have a combined 120 years working with companies from all
industries and markets in distressed situations; and

        WHEREAS, IHT desires to retain ARG as its exclusive consultant to assist IHT in providing
professional services as herein detailed; and

         WHEREAS, both parties agree that IHT is in need of professional financial advice due to IHT’s
current liquidity and bankruptcy risk;

NOW, THEREFORE, in consideration of the foregoing and other good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, the parties hereby agree to the above recitals
and as follows:

Defined Scope of Work – Bankruptcy Management and Advisory Services:
The scope of work is defined as follows:

      a) ARG will maintain cash flow models to provide to the court and other stakeholders.
      b) Negotiate and communicate with IHT’s lenders, creditors and other vested parties to formulate
         budgets during and upon exit from bankruptcy.
      c) Advise IHT management on various matters concerning employees, vendors and business
         operations.
      d) Negotiate and document key employee agreements if applicable.

                                ARGPartners |Cash Flow Quality Starts With Assets               1
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    e) Review and approve all cash payments to ensure that such disbursements are budgeted items.
    f) Review and approval of all applicable reporting to 3rd parties.
    g) Continuously look for opportunities to create cash flow savings and other restructuring activities
       that help IHT solidify its financial position during bankruptcy and post-exit.
    h) Weekly accounts receivable and borrowing base tracking for DIP financing.
    i) Track and report actual performance to budget on a weekly basis.
    j) Attend all court proceedings and provide expert testimony if applicable.
    k) All other necessary services to comply with bankruptcy court and 3rd party requirements.

ARG Fee Structure To Complete Scope of Work:
ARG requires an initial $36,000 deposit in advance of filing to cover its fees and expenses until the
bankruptcy court approves this Agreement. Once approved by the court, ARG will require payment from
IHT for the then accrued balance owed to ARG and leave the initial deposit in place to be applied toward
ARG’s invoicing upon bankruptcy exit.

             i.   CRO                           $400/hr. capped at $7,500.00 per week.
            ii.   Principal                     $375/hr.
           iii.   Director                      $300/hr
           iv.    Senior Consultant/Analysts    $175/hr

            a) CRO duties provided by Chris Welsh, whose weekly fees are capped at $7,500 per week.
            b) All other ARG professionals, if necessary, will be invoiced based on the actual hours
               worked and their position within ARG.

    1. Terms of Payment: ARG shall receive the following reimbursement and compensation for
       services provided to IHT:
            a. IHT agrees to reimburse ARG for all reasonable and necessary out of pocket expenses
               associated with travel, lodging, and other travel related expenses necessary to complete
               the Defined Scope of Work and any additional work as required.
            b. ARG will invoice IHT by Sunday for of each week for services and expenses rendered in
               the previous week, with payment due from IHT by the following Friday once the
               bankruptcy court approves this Agreement.

    2. Disclosure of ARG: ARG has done business with IHT’s current senior lender, Bluehenge
       Capital, and ARG has reviewed all current engagements and ARG has no conflicts existing that
       would disqualify ARG from performing the duties described in this agreement and obtaining the
       highest quality results for its client, IHT.

   3. Cancellation: Either party hereto may terminate this Agreement prior to the completion of the
      Scope of Work or work authorized hereunder by giving five (5) days written notice to the other
      party. Upon such termination of this Agreement, IHT will pay ARG for all fees earned, plus all
      outstanding and non-reimbursed expenses through the date of termination. ARG will cease work
      immediately once notified verbally or via email.

   4. Independent Contractor: Neither ARG nor any of its personnel performing work or services
      hereunder shall be deemed to be an agent, employee, officer or director of IHT, but shall be
      deemed to be an independent contractor. ARG is a Consultant and is being retained by IHT only
      as a consultant. ARG is not being hired or retained as an employee, officer or director of IHT nor
      any third party. In making decisions with respect to consulting with IHT under this Agreement or

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       taking any other action related to or in connection with this Agreement, ARG shall have no
       liability to any third party, and shall not be deemed to be in control of any operations or to be an
       "owner or operator" or acting as a "responsible person” or “managing agent” with respect to the
       operation of any third party.

   5. Limitation and Liability: ARG assumes no responsibility or liability under this Agreement other
      than to render the services called for hereunder in good faith, and shall not be responsible for any
      action taken by IHT in following or declining to follow any advice or recommendations of ARG.
      ARG shall only be liable to IHT by reason of acts by ARG constituting willful or wanton
      misconduct. ARG makes no warranties (including any warranties as to the merchantability or
      fitness) either expressed or implied with respect to any product or goods supplied by ARG or
      others. ARG shall not be liable for any loss or damage resulting from its performance or failure to
      perform or errors of judgment or resulting from reliance on counsel given. ARG shall not be
      liable for any consequential or special damages arising out of the performance of work or failure
      to perform work or services or for counsel given. For any litigation suffered by ARG where ARG
      is not at fault, the cost of representation and subsequent awards shall be borne by IHT.

   6. Confidentiality and Independence: ARG will maintain in strict confidence any and all
      information of a non-public nature relating to IHT or its business and its agents that it may gain or
      develop in the course of its engagement (including, without limitation, its own work product and
      advice) and will not disclose any such information to any person during or after its engagement
      except with IHT’s written consent, as permitted by law or as required by court order.

       ARG receives referrals and maintains business relationships with banks, private equity groups,
       insurance companies, financial organizations, investors, attorneys, etc., on a regular basis and has
       a variety of financial interests. Such relationships and interests, however, are always dealt with
       separately from each other. In conjunction with the confidentiality contained herein, ARG will
       not without IHT’s consent during the term of this Agreement, nor thereafter, knowingly provide
       any services to any person or entity regarding this business in the absence of specific directions to
       provide such from IHT.

   7. Headings: Paragraph headings of this Agreement have been inserted for convenience of
      reference only and shall not be construed to affect the meaning of this Agreement.

   8. Governing Law: The terms of this Agreement shall be construed, interpreted and enforced under
      laws of the State of Texas.

   9. Effective Date: The effective date of this Agreement shall be the date first mentioned.

IN WITNESS WHEREOF, the parties herein have executed this Agreement on the date first above
written.




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                                         ARGPartners
August 31, 2020


Joey Phillips, President and Its Board of Directors
Iron Horse Tools, LLC.
4502 S. Staples St.
Corpus Christi, TX 78411

In re: Addendum to Original Agreement dated 8-12-20

Mr. Phillips,

This Addendum to the agreement (the “Agreement”) is made and entered into this 31st day of August
2020, by and between ARG Partners LLC (herein referred to as "ARG") and Iron Horse Tools, Inc.
(herein referred to as “IHT”). The purpose of this Addendum is to add special project services to ARG
engagement and pricing thereof.

This Addendum, modifies and amends the Agreement as follows:

Agreement Section ARG Fee Structure To Complete Scope of Work under the fee structure now
includes:
          v. Special Project Consultant $100/hr. capped at $4,000.00 per week.

And adding:
           c) Special Project Consultanting to be provided by Matt Marrietta. Initial special project
              provided by Matt Marrietta is overseeing, documenting, reconciling and advisory
              accounting services for the full physical count of fixed assets/rental equipment inventory.


    1. Effective Date: The effective date of this Addendum shall be the date first mentioned.

IN WITNESS WHEREOF, the parties herein have executed this Agreement on the date first above
written.




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                                     ARGPartners
August 12, 2020


Joey Phillips, President and Its Board of Directors
Iron Horse Tools, LLC.
4502 S. Staples St.
Corpus Christi, TX 78411

In re: Chief Restructuring Officer and Financial Advisory Services

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advisory and bankruptcy services. This is a new agreement between the parties that supersedes the prior
agreement that is dated May 5, 2020.

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assumes no further travel expenses prior to bankruptcy filing. ARG anticipates that advances by the
senior lender will be made to cover ARG’s outstanding balances prior to the filing date plus required
deposit amount of $36,000 (see below for more details) for the contemplated bankruptcy filing.

          WHEREAS, ARG is a professional consulting company located in Frisco (Dallas area), Texas;
and

        WHEREAS, the principals at ARG have a combined 120 years working with companies from all
industries and markets in distressed situations; and

        WHEREAS, IHT desires to retain ARG as its exclusive consultant to assist IHT in providing
professional services as herein detailed; and

         WHEREAS, both parties agree that IHT is in need of professional financial advice due to IHT’s
current liquidity and bankruptcy risk;

NOW, THEREFORE, in consideration of the foregoing and other good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, the parties hereby agree to the above recitals
and as follows:

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The scope of work is defined as follows:

      a) ARG will maintain cash flow models to provide to the court and other stakeholders.
      b) Negotiate and communicate with IHT’s lenders, creditors and other vested parties to formulate
         budgets during and upon exit from bankruptcy.
      c) Advise IHT management on various matters concerning employees, vendors and business
         operations.
      d) Negotiate and document key employee agreements if applicable.

                                ARGPartners |Cash Flow Quality Starts With Assets               1
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    e) Review and approve all cash payments to ensure that such disbursements are budgeted items.
    f) Review and approval of all applicable reporting to 3rd parties.
    g) Continuously look for opportunities to create cash flow savings and other restructuring activities
       that help IHT solidify its financial position during bankruptcy and post-exit.
    h) Weekly accounts receivable and borrowing base tracking for DIP financing.
    i) Track and report actual performance to budget on a weekly basis.
    j) Attend all court proceedings and provide expert testimony if applicable.
    k) All other necessary services to comply with bankruptcy court and 3rd party requirements.

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IHT for the then accrued balance owed to ARG and leave the initial deposit in place to be applied toward
ARG’s invoicing upon bankruptcy exit.

             i.   CRO                           $400/hr. capped at $7,500.00 per week.
            ii.   Principal                     $375/hr.
           iii.   Director                      $300/hr
           iv.    Senior Consultant/Analysts    $175/hr

            a) CRO duties provided by Chris Welsh, whose weekly fees are capped at $7,500 per week.
            b) All other ARG professionals, if necessary, will be invoiced based on the actual hours
               worked and their position within ARG.

    1. Terms of Payment: ARG shall receive the following reimbursement and compensation for
       services provided to IHT:
            a. IHT agrees to reimburse ARG for all reasonable and necessary out of pocket expenses
               associated with travel, lodging, and other travel related expenses necessary to complete
               the Defined Scope of Work and any additional work as required.
            b. ARG will invoice IHT by Sunday for of each week for services and expenses rendered in
               the previous week, with payment due from IHT by the following Friday once the
               bankruptcy court approves this Agreement.

    2. Disclosure of ARG: ARG has done business with IHT’s current senior lender, Bluehenge
       Capital, and ARG has reviewed all current engagements and ARG has no conflicts existing that
       would disqualify ARG from performing the duties described in this agreement and obtaining the
       highest quality results for its client, IHT.

   3. Cancellation: Either party hereto may terminate this Agreement prior to the completion of the
      Scope of Work or work authorized hereunder by giving five (5) days written notice to the other
      party. Upon such termination of this Agreement, IHT will pay ARG for all fees earned, plus all
      outstanding and non-reimbursed expenses through the date of termination. ARG will cease work
      immediately once notified verbally or via email.

   4. Independent Contractor: Neither ARG nor any of its personnel performing work or services
      hereunder shall be deemed to be an agent, employee, officer or director of IHT, but shall be
      deemed to be an independent contractor. ARG is a Consultant and is being retained by IHT only
      as a consultant. ARG is not being hired or retained as an employee, officer or director of IHT nor
      any third party. In making decisions with respect to consulting with IHT under this Agreement or

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       taking any other action related to or in connection with this Agreement, ARG shall have no
       liability to any third party, and shall not be deemed to be in control of any operations or to be an
       "owner or operator" or acting as a "responsible person” or “managing agent” with respect to the
       operation of any third party.

   5. Limitation and Liability: ARG assumes no responsibility or liability under this Agreement other
      than to render the services called for hereunder in good faith, and shall not be responsible for any
      action taken by IHT in following or declining to follow any advice or recommendations of ARG.
      ARG shall only be liable to IHT by reason of acts by ARG constituting willful or wanton
      misconduct. ARG makes no warranties (including any warranties as to the merchantability or
      fitness) either expressed or implied with respect to any product or goods supplied by ARG or
      others. ARG shall not be liable for any loss or damage resulting from its performance or failure to
      perform or errors of judgment or resulting from reliance on counsel given. ARG shall not be
      liable for any consequential or special damages arising out of the performance of work or failure
      to perform work or services or for counsel given. For any litigation suffered by ARG where ARG
      is not at fault, the cost of representation and subsequent awards shall be borne by IHT.

   6. Confidentiality and Independence: ARG will maintain in strict confidence any and all
      information of a non-public nature relating to IHT or its business and its agents that it may gain or
      develop in the course of its engagement (including, without limitation, its own work product and
      advice) and will not disclose any such information to any person during or after its engagement
      except with IHT’s written consent, as permitted by law or as required by court order.

       ARG receives referrals and maintains business relationships with banks, private equity groups,
       insurance companies, financial organizations, investors, attorneys, etc., on a regular basis and has
       a variety of financial interests. Such relationships and interests, however, are always dealt with
       separately from each other. In conjunction with the confidentiality contained herein, ARG will
       not without IHT’s consent during the term of this Agreement, nor thereafter, knowingly provide
       any services to any person or entity regarding this business in the absence of specific directions to
       provide such from IHT.

   7. Headings: Paragraph headings of this Agreement have been inserted for convenience of
      reference only and shall not be construed to affect the meaning of this Agreement.

   8. Governing Law: The terms of this Agreement shall be construed, interpreted and enforced under
      laws of the State of Texas.

   9. Effective Date: The effective date of this Agreement shall be the date first mentioned.

IN WITNESS WHEREOF, the parties herein have executed this Agreement on the date first above
written.




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August 31, 2020


Joey Phillips, President and Its Board of Directors
Iron Horse Tools, LLC.
4502 S. Staples St.
Corpus Christi, TX 78411

In re: Addendum to Original Agreement dated 8-12-20

Mr. Phillips,

This Addendum to the agreement (the “Agreement”) is made and entered into this 31st day of August
2020, by and between ARG Partners LLC (herein referred to as "ARG") and Iron Horse Tools, Inc.
(herein referred to as “IHT”). The purpose of this Addendum is to add special project services to ARG
engagement and pricing thereof.

This Addendum, modifies and amends the Agreement as follows:

Agreement Section ARG Fee Structure To Complete Scope of Work under the fee structure now
includes:
          v. Special Project Consultant $100/hr. capped at $4,000.00 per week.

And adding:
           c) Special Project Consultanting to be provided by Matt Marrietta. Initial special project
              provided by Matt Marrietta is overseeing, documenting, reconciling and advisory
              accounting services for the full physical count of fixed assets/rental equipment inventory.


    1. Effective Date: The effective date of this Addendum shall be the date first mentioned.

IN WITNESS WHEREOF, the parties herein have executed this Agreement on the date first above
written.




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